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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                          CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                   CLERK OF COURT

Date: February 06, 2023                                       DC Docket #: 19-cv-2501
Docket #: 22-530cv                                            DC Court: SDNY (NEW YORK
Short Title: United States of America ex re v. Evicore        CITY)
Healthcare MSI, LLC.                                          DC Judge: Marrero


              INSTRUCTIONS FOR COUNSEL AND PRO SE LITIGANTS
                 WHO WILL APPEAR IN PERSON FOR ARGUMENT



Argument Date/Time:       Wednesday, February 15, 2023 at 10:00am
Location:                 Thurgood Marshall U.S. Courthouse, 40 Foley Square,
                          New York, NY, 10007, 17th Floor, Room 1703

Time Allotment:            10 minutes per side


Counsel and pro se litigants presenting oral argument must register with the courtroom deputy 30
minutes before argument.

Individuals who arrive at the courthouse for argument must meet the health screening
requirements and entrance protocols specified at the entrance to the building and should check
the Court’s website under Announcements for up to date information.

Upon registering with the courtroom deputy, the persons arguing the first case may take seats at
the lectern. The persons arguing the second case may take seats in the courtroom gallery. Those
arguing subsequent cases may take seats in the lawyers’ anteroom. The tables typically set aside
for those who argue must remain unoccupied.

The Court will continue to offer a livestream audio of the oral arguments.

All parties are advised that the Court may change the procedures for participating in oral
argument on short notice based upon updated public health information. Similarly, in deference
to pandemic-related considerations, a hybrid argument may be held, combining in-person and
remote participation by judges and parties.
